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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                                Case No. 16-20549-CR-SCOLA/OTAZO-REYES



   UNITED STATES OF AMERICA

   vs.

   PHILIP ESFORMES, et al.

             Defendants.
                                                    /

                   UNOPPOSED MOTION OF BUSINESS ENTITY TO SELL
              EXISTING LEASE OF SKILLED NURSING FACILITY (“SNF”) DOING
                       BUSINESS AS NURSING CENTER OF MERCY

             Business entity Sefardik Associates, LLC (the entity that owns the existing lease for the

   SNF Nursing Center of Mercy located at 3671 S. Miami Ave, Miami, FL 33133), files this

   unopposed motion for approval of contracts to sell the remainder of an existing ground lease for

   the skilled nursing facility doing business as Nursing Center at Mercy. The business entity will

   be referred to as “Seller” or “Movant.”           In support, Seller states as follows:

             Movant, other business entities, the Government, and Philip Esformes entered into a

   Stipulation Regarding Interlocutory Sale of Certain Business Interests and Related Real Properties

   (“Stipulation”) (DE 264-1). This Court entered an Order approving that Stipulation (DE 270).

             Seller marketed the sale of the SNF pursuant to the Stipulation.             The Stipulation requires

   that the Court approve any offers to purchase assets subject to the Stipulation.                     See ¶ 14 of

   Stipulation.      This Unopposed Motion seeks such approval.




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          Cushman & Wakefield, the agreed broker for the sale of assets subject to the Stipulation,

   solicited and received written offers to purchase the lease for the SNF at issue in this Motion. The

   successful bidder is SentosaCare, LLC (“Sentosa”). The proposed purchase price is as follows:

   $12,000,000, subject to certain adjustments as set out in the agreements between the parties.

   Seller and Sentosa, together with one of its affiliates, entered into several agreements, including

   Purchase and Sale Agreement, Operations Transfer Agreement, Management Agreement, and

   Sublease Agreement.       Under these agreements, there will be a three step process requiring first a

   management agreement, then a sublease, and then a sale upon closing.

          Bent Philipson, on behalf of Sentosa, has presented information to the Government, upon

   which the Government is relying, that neither Philipson nor Sentosa nor any members or entities

   owned or controlled by them have been or are presently under suspension by the Centers for

   Medicare and Medicaid Services.              Additionally, both Philipson and Sentosa have made

   representations, upon which the Government is relying, regarding the lack of present and future

   involvement by Philip Esformes and associated individuals and entities.

          Time is of the essence in this transaction.            Seller asks that the Court enter an Order

   approving this purchase and sale contract at its earliest convenience so that the transaction can be

   pushed forward to closing.

          For all of the foregoing reasons, Seller asks the Court to enter an Order approving the

   sublease and sale of the lease of the SNF to Sentosa, or its assignees.            Undersigned counsel for

   Seller has conferred with counsel for Philip Esformes and has been advised that Philip Esformes

   agrees that this motion should be granted.         Undersigned counsel has conferred with counsel for




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   the Government and has been advised that the Government does not oppose this Motion.

          Dated this 7th day of December, 2018.

                                                               Respectfully Submitted,

                                                               BUSINESS ENTITY:
                                                               Sefardik Associates, LLC

                                                               /s/ Averil Andrews
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                                       CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 7th day of December 2018, the foregoing document was
   electronically filed with the Clerk of Court by utilizing the CM/ECF System. I also certify that the
   foregoing document is being served this day on all counsel of record identified on the below
   Service List either via transmission of Notices of Electronic Filing generated by CM/ECF, or in
   some other authorized manner for those counsel of parties who are not authorized to receive
   electronically Notices of Electronic Filing.


                                                               /s/ Averil Andrews
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